
PER CURIAM:
This claim was submitted for decision based on the allegations of the Notice of Claim and the respondent’s Answer.
Claimant seeks payment of the sum of $1,096.62 for hospital services rendered to inmates of respondent’s Huttonsville Correctional Center.
In its Answer, the respondent admits the allegations of fact set forth in the Notice of Claim, but further states that there were no funds remaining in the respondent’s appropriation for the fiscal years in question from which the obligations could have been paid.
While we feel that this is a claim which in equity and good conscience should be paid, we are of further opinion that an award cannot be made, based on our decision in Airkem Sales and Service, et al. v. Department of Mental Health, 8 Ct. Cl. 180 (1971).
Claim disallowed.
